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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Kim Abramson,                                      No. CV-21-00459-TUC-JCH
10                   Plaintiff,                         ORDER
11   v.
12   Trans Union LLC, et al.,
13                   Defendants.
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15           Pending before the Court is the parties’ Stipulation for Extension of Time to Answer
16   or Otherwise Respond to Plaintiff’s Complaint (“Stipulation”) (Doc. 7). The parties request
17   that Defendant Nelnet Loan Services Inc. be given until December 24, 2021 to file an
18   answer or a responsive pleading to the Complaint (Doc. 1). Good cause appearing,
19           IT IS ORDERED that the Stipulation (Doc. 7) is GRANTED. Defendant must file
20   an answer or a responsive pleading to the Complaint on or before December 24, 2021.
21           Dated this 2nd day of December, 2021.
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